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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


     HBAC MATCHMAKER MEDIA, INC.,

                                    Plaintiff,

                    v.                               C.A. No. 13-430-SLR-SRF

     NBC Entertainment, a division of NBC
     West, LLC; Bravo Media LLC; Universal
     Television Networks; CNBC LLC;
     Telemundo Network Group LLC; NBC
     Sports Group, a division of NBCUniversal
     Media, LLC; NBC News Digital LLC;
     Oxygen Media LLC; and E! Entertainment
     LLC.,

                                    Defendants.


                     STIPULATION TO STAY PENDING SETTLEMENT

               IT IS HEREBY STIPULATED AND AGREED, subject to the approval of the

     Court, that all deadlines set forth in the above action are hereby stayed for thirty (30)

     days pending the filing of a stipulation of dismissal. If this case is not dismissed in thirty

     (30) days, the parties shall provide the Court with a report concerning the status of the

     matter.

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     Dated: January 10, 2017




     IT IS SO ORDERED this ___ day of ___________________________, 2017.


                                            ____________________________________
                                            United States District Judge
